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                            UNITED STATES DISTRICT COURT


                            EASTERN DISTRICT OF LOUISIANA

                                    STATE OF LOUISIANA

MICHAEL JONES, SR                            CIVIL ACTION NUMBER: 02-cv-19-11578


VERSUS                                       MAGISTRATE JUDGE JANIS VAN MEERVELD


PINNACLE ENTERTAINMENT, INC.,
D/B/A BOOMTOWN BELLE CASINO                  JUDGE IVAN L.R. LEMELLE
WESTBANK


                STATEMENT OF UNCONSTESTED MATERIAL FACTS

       Defendants, Pinnacle Entertainment, Inc., and Louisiana-1 Gaming, a Louisiana

Partnership in Commendam, respectfully submit that the following material facts are not contested

and give rise to the Motion for Summary Judgment filed herein:

   1. Pinnacle Entertainment, Inc., is a corporation found in Delaware, whose principle place of

       business is located in the State of Pennsylvania. (Exhibit 1).

   2. It is the sole member of a limited liability company, Pinnacle MLS, LLC. (Exhibit 1).

   3. Pinnacle MLS, LLC is the sole member of Boomtown, LLC. (Exhibit 1).

   4. Pinnacle MLS, LLC and Boomtown, LLC formed a Louisiana Partnership, Louisiana-1

       Gaming, a Louisiana Partnership in Commendam. (Exhibit 1).

   5. On December 29, 2018, Boomtown New Orleans was owned and operated by Louisiana-1

       Gaming, a Louisiana Partnership in Commendam. (Exhibit 1).

   6. On December 29, 2018, the plaintiff, Michael Jones, Sr., was a patron at the Boomtown

       New Orleans.

   7. On December 29, 2018, it was raining. (Exhibit 2 p. 24 l. 18).

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8. There were two floormats located at the entrance to the casino.

9. Robert DeCorte was working as a security officer for Boomtown New Orleans on or about

   December 29, 2018.

10. Robert Decorte came on duty shortly before the fall. When he came on duty, he inspected

   the floor and found no water or other slippery substance. (Exhibit 3 pg. 42 ln. 5-8).

11. Robert Decorte then maintained a view of the area where the plaintiff fell from his security

   position. (Exhibit 3 pg. 26 ln. 1-4).

12. As Jones entered Boomtown New Orleans, he did not wipe his feet on the floormats.

   (Exhibit 2 pg. 26 ln. 23-25).

13. Jones took his hat off and began shaking his hat onto the floor. (Exhibit 4).

14. Jones then stepped off of the mat, and took one step, when his foot slipped on the water.

   (Exhibit 4).

15. Multiple people were walking on the floor with no issue prior to Jones shaking the water

   off his hat. (Exhibit 4).

16. Security surveillance video confirms the testimony of Robert Decorte.

                                                  Respectfully Submitted:

                                                  PUJOL, PRYOR & IRWIN, LLC


                                                  s/Matthew W. Pryor
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                                                  Partnership in Commendam


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                               CERTIFICATE OF SERVICE


I hereby certify that the above and foregoing pleading has been filed with the Court’s CM/ECF

system and service was made therewith this 21st day of May, 2020.


                                        /s/Matthew W. Pryor




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